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 AO 91 (Rev. 11/11) Criminal Complaint
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1/9/2019
                                      UNITED STATES DISTRICT COURT
                                                                  for the
                         1 :19-MJ-10-AWA                 District of Columbia
              DEPUTY
                   United States of America                          )
                                 V.                                 )
                                                                    )        Case: 1: 19-mj-00004
                       Michael Ezeagbor                                      Assigned To : Magistrate Judge Deborah A. Robinson
                                                                     )
                                                                             Assign. Date: 01/07/2019
                                                                    )        Description: Criminal Complaint/Arrest Warrant
                                                                     )
                                                                    )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                11/25/2015-1/25/2016             in the county of   -----------                   in the
                        District of      ---------
                                            Columbia , the defendant(s) violated:

             Code Section                                                      Offense Description
 18 U.S.C. §§ 2252(a)(2) and (b)(1)              did knowingly conspire with Jong Woo Son to knowingly distribute any visual
                                                 depiction using any means and facility of interstate and foreign commerce,
                                                 including by computer, where the visual depiction involved the use of a minor
                                                 engaging in sexually explicit conduct as defined in 18 U.S.C. § 2256(2)(A),
                                                 and such visual depiction is of such conduct.




          This criminal complaint is based on these facts:

SEE ATTACHED STATEMENT OF FACTS




          � Continued on the attached sheet.



                                                                                                Complainant's signature

                                                                                               SA Darrell Franklin, HSI
                                                                                                 Printed name and title

 Sworn to before me and signed telephonically.


            01/07/2019
 Date:
                                                                                                   Judge's signature

                                         Washington, D.C.                       Deborah A. Robinson, United States Magistrate Judge
 City and state:
                                                                                                 Printed name and title


                                                                                                                                  4
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Case 1:19-mj-00004-DAR Document 2 Filed 01/15/19 Page 12 of 31
      --·
�O 442 (Rev. 11/11) Arrest Warrant
                          Case 1:19-mj-00004-DAR Document 2 Filed 01/15/19 Page 13 of 31

                                         UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of Columbia

                      United States of America
                                 V.                                )
                                                                   )       Case: 1: 19-mj-00004
                                                                                                                          son
                      MICHAEL EZEAGBOR                                     Assigned To : Magistrate Judge Deborah A. Robin
                                                                   )
                                                                           Assign. Date: 01/07/2019
                                                                   )       Description: Criminal ComplamUArrest Warrant
                                                                   )
                                                                   )
                             Defendant


                                                     ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)
                             MICHAEL EZEAGBOR
                           ---------------------------------                                    ---
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment               0 Superseding Indictment       0 Information        0 Superseding Information             � Complaint
0 Probation Violation Petition             0 Supervised Release Violation Petition       0 Violation Notice          O Order of the Court

This offense is briefly described as follows:
  Conspiracy to Distribute Child Pornography, in violation of 18 U.S.C. Sections 2252(a)(2) and (b)(1)




Date:          01/07/2019


City and state:         Washington, D.C.                                   Deborah A. Robinson, United States Ma
                                                                                            Printed name and title


                                                                Return

            This warrant was received on (date) ------- , and the person was arrested on (date)
at (city and state)


Date:
            INVESTIGATE COPY ONLY
            ORIGINAL ON FILE WITH                                                        Arresting officer's signature


            US MARSHAL RM P"�                                                               Printed name and title


                                                                                                                                   13
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